             Case 2:20-cv-02630-DDC Document 148 Filed 01/19/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS

ALEXIS SWEARINGEN,                                     )
                                                       )
                               Plaintiff,              )
                                                       )
v.                                                     )   Case No: 2:20-cv-02630-DDC-TJJ
                                                       )
LINN COUNTY, KANSAS,                                   )
LINN COUNTY SHERIFF PAUL FILLA,                        )
PLEASANTON UNIFIED SCHOOL                              )
DISTRICT 344,                                          )
DAVID ALLEN HUGGINS,                                   )
                                                       )
                               Defendants.             )

      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE OF DEFENDANT
                 PLEASANTON UNIFIED SCHOOL DISTRICT 344
                   PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)

        Plaintiff Alexis Swearingen and Defendant Pleasanton Unified School District 344

hereby jointly stipulate the dismissal of this Defendant only in the above captioned matter with

prejudice pursuant to a settlement reached by the parties. This Stipulation has no impact on

Plaintiff’s claims against the remaining Defendants.

        Further, Plaintiff and this Defendant stipulate that each shall bear her/its own costs and

attorney fees.

                                              Respectfully submitted:

                                              FISHER, PATTERSON, SAYLER & SMITH, L.L.P.

                                              /s/ Michael K. Seck
                                              Michael K. Seck, KS #11393
                                              51 Corporate Woods, Suite 300
                                              9393 West 110th Street
                                              Overland Park, KS 66210
                                              (913) 339-6757 / Fax : (913) 339-6187
                                              mseck@fpsslaw.com
                                              Attorney for Defendant Pleasanton
                                              Unified School District # 344



{O0372356}
             Case 2:20-cv-02630-DDC Document 148 Filed 01/19/23 Page 2 of 2




                                             /s/ Chris Dove
                                             Chris Dove, KS #21251
                                             Daniel R. Zmijewski, KS #21275
                                             DRZ LAW, LLC.
                                             9229 Ward Parkway, Suite 370
                                             Kansas City, MO 64114
                                             P: 816-333-4379
                                             F: 816-523-5667
                                             chris@drzlawfirm.com
                                             dan@drzlawfirm.com
                                             ATTORNEYS FOR PLAINTIFF


                                CERTIFICATE OF SERVICE

       I hereby certify that on January 19, 2023, I electronically filed the foregoing document
with the Clerk of the District Court, and a copy was served via e-mail on the following:

Kevin D. Case
2600 Grand Blvd., Ste. 300
Kansas City, MO 64108
(816) 979-1516/Fax: (816) 979-1501
kevin.case@caselinden.com
ATTORNEY FOR LINN COUNTY
DEFENDANTS


                                             /s/ Michael K. Seck
                                             Michael K. Seck




{O0372356}
